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                                                                                   E-FILED
                                                      Monday, 09 August, 2021 11:36:12 AM
                                                              Clerk, U.S. District Court, ILCD

                   UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF ILLINOIS
                       SPRINGFIELD DIVISON

UNITED STATES OF AMERICA                 )
                                         )
                  Plaintiff,             )
                                         )
             v.                          )      Crim. No. 21-CR-30032
                                         )
JEREMY BANKS,                            )
                                         )
                  Defendant.             )

             UNITED STATES’ RESPONSE TO DEFENDANT’S
                       MOTION TO SUPPRESS

        The United States of America by Douglas J. Quivey, Acting

United States Attorney for the Central District of Illinois, and

Assistant United States Attorney Sarah E. Seberger, hereby responds

in opposition to the defendant’s motion to suppress evidence.

                               Background

        1.   On May 10, 2021, the defendant appeared for arraignment

on a one-count indictment charging unlawful possession of a firearm

by a convicted felon.

        2.   The defendant was detained pending the outcome of this

case.



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     3.    On July 29, 2021, the defendant filed a motion to

suppress evidence. (d/e 20)

     4.    In his motion the defendant claims that the Springfield

Police Department conducted an illegal warrantless search of his

person and of his home.

     5.    The government respectfully requests that this Court deny

the defendant’s motion to suppress evidence because officers had

legally made contact with the defendant outside his home and only

entered the home due to the exigent circumstances created by the

defendant. Further, the defendant told officers he had a firearm

during a legal frisk of his person.

                                 Facts

     On April 8, 2021, Officer Colton Redding of the Springfield

Police Department Street Crimes Unit was using the social media

application Snapchat to conduct investigations into illegal weapons

and narcotics offenses. Officer Redding observed a video posted to

the Snapchat “story” of user “ripjama40glock”. Snapchat accounts

have a username and a display name. The display name for the

account “ripjama40glock” is Jeremy Banks. Officer Redding and

others from the Springfield Police Department had previously

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observed multiple photos and videos from the account of

“ripjama40glock” and identified the owner of the account as Jeremy

D. Banks of Springfield, Illinois.

     Snapchat allows users to send videos or pictures from their

smart phones to other Snapchat users, which can only be viewed

once or twice and then are no longer available for viewing. Snapchat

also has a feature, “Story”, which allows users to upload pictures or

videos to be viewed by their Snapchat “friends” for a period of 24

hours. The videos and pictures are uploaded in a way which allows

the viewer of the video to tell if the video or picture was captured and

then uploaded to the “Story” immediately, or if the video or picture

was recorded at a previous time and then uploaded to the “Story”.

Videos and pictures not captured contemporaneously with the

Snapchat post have a tag in the top left corner, which will indicate

the picture or video came from the “camera roll” of the smart phone,

and how long ago the picture or video was captured by the “camera

roll”. If the video is captured and posted contemporaneously with the

Snapchat post, the top left corner will simply indicate how long ago it

was captured and posted.



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     The video observed and preserved by Officer Redding on April 8,

2021, shows a grill with kebabs and chicken wings. On a ledge

attached to the front of the grill was a black semi-automatic pistol.

The firearm appeared to officers to be real and not a toy. Banks was

known to Officer Redding to be a felon. Officer Redding observed the

video approximately six minutes after it was posted to Banks’ story.

The video did not indicate it came from the cameral roll.

     Officers knew the residence of Jeremy Banks from department

records as 1716 Matheney Avenue, Springfield, Illinois. Several

Springfield Police Department officers then conducted a very short

period of surveillance at the residence. Officer Raynolds of the

Springfield Police Department observed Banks standing and cooking

at a grill that looked just like the one in the Snapchat video located

by Officer Redding. Sergeant Justin Spaid then led a group of officers

from the back of the residence to the front door to detain Banks. The

time from the initial posting of the video to the approach of the

defendant’s home was roughly 30 minutes.

     Banks did not notice Sgt. Spaid approaching his residence. Sgt.

Spaid then identified himself by saying “Springfield Police.” Banks’

was surprised and immediately turned to flee into his residence. Sgt.

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Spaid and others instructed Banks to not go inside the residence

and to not reach for anything. Sgt. Spaid and other officers made

physical contact with Banks to prevent his flight. A struggle ensued

during which Banks was able to get his door open and move inside.

Officers had continued their attempt to detain Banks and were

ultimately able to subdue Banks inside his residence. Sgt. Spaid

then conducted a frisk of Banks and felt a firearm. As Sgt. Spaid

performed the frisk, Banks stated “yeah I got a gun on me.” Other

officers moved though the house in a protective sweep to check for

any other armed persons, while doing so they observed in plain view

a box of 9mm ammunition in the living room and a single 9mm

bullet on the floor of an upstairs bedroom. Subsequently officers

discussed obtaining a search warrant for the house in light of

additional contraband found inside. Ultimately, officers were given

consent to search the residence by both Banks and his roommate

and did not find further contraband.

                          Legal Standard

     Officers are permitted to make brief, investigatory stops when

those stops are based upon “specific and articulable facts which,

taken together with rational inferences from those facts, reasonably

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warrant that intrusion.” Terry v. Ohio, 392 U.S. 1, 21 (1968). As part

of those stops, Officers may frisk for weapons if they have a

reasonable, articulable belief that the person is armed, and the

safety of the officer or others is in danger. Id. at 27. Normally

innocent behavior “when isolated from its context may still give rise

to reasonable suspicion when considered in light of all of the factors

at play.” United States v. Baskin, 401 F.3d 788, 793 (7th Cir. 2005).

     Further, officers are permitted, just as any regular citizen, to

walk up to the front door of a residence to talk to a person inside the

residence or on the curtilage. Florida v. Jardines, 569 U.S. 1, 8

(2013); Kentucky v. King, 563 U.S. 452, 469 (2011). An attached

porch or deck is part of the curtilage of a home. See Jardines at 6.

     Officers are able to enter a home justified by exigent

circumstances without violating the Fourth Amendment. Kentucky v.

King, 563 U.S. 452, 460 (2011) Exigent Circumstances include the

“hot pursuit” of a fleeing suspect and to prevent the destruction of

evidence. See United States v. Santana, 427 U.S. 38, 42–43, 96 S.Ct.

2406 (1976).

     Officers who arrest someone in a home are able to conduct a

limited protective sweep or search of the home to determine if there

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are other people present in the home for officer safety. Maryland v.

Buie, 494 U.S. 325 (1990).

     The plain view doctrine is an exception to the warrant

requirement and has a 3-prong test. Horton v. California, 496 U.S.

128 (1990). First, that “the officer has not violated the Fourth

Amendment in arriving at the place from which the evidence could

be plainly viewed”; second that “the incriminating character of the

evidence is ‘immediately apparent’”; and third that “the officer has a

lawful right of access to the object itself.” United States v. Willis, 37

F.3d 313, 316 (7th Cir. 1994).

                                Argument

1.   Officers did not commit a Fourth Amendment violation by
walking up to the Defendant’s front porch

     Girl Scouts selling cookies, Boy Scouts selling popcorn, a

traveling vacuum salesman, a police officer: all these groups have

the ability and license to walk to a person’s front door to knock and

talk to the occupant. That license does not go away if a resident is

standing on his porch. This case is different than Florida v. Jardines,

as the Springfield Police Department did not bring a police dog or

some other type of specialized equipment to conduct a search. In


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fact, SPD did not actually enter the defendant’s property to conduct

a search – they entered to arrest the defendant. This is also not a

case where officers used a GPS tracker (United States v. Jones cited

by defendant), nor a “spike mike” (Silverman cited by defendant), nor

a cell phone search (Riley cited by defendant). This is a case where a

defendant made the decision to let the public intrude inside his

home and inside the curtilage of his home by publicly sharing video

of his illegal possession of a firearm on the porch of that home.

Officers had gone to the home to conduct surveillance within

minutes of the defendant posting the Snapchat video. Once the

Springfield Police Department saw the defendant standing outside

his residence, they switched from surveillance to choosing to address

the illegal possession of a firearm by walking up to his front door–

conduct which is affirmed by the Supreme Court in Jardines to be

lawful. This case is also different because unlike Jardines, it involves

a deadly weapon. Because the officers were legally on the

Defendant’s porch, they had the ability to either arrest or detain him.

2.   Officers had probable cause to arrest the defendant

     Sgt. Spaid had probable cause to believe that the defendant had

committed a crime on April 8, 2021. He knew Officer Redding had a

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video image of a firearm on a social media account belonging to the

defendant. The defendant was known by officers to be a felon. When

officers surveilled the residence, they observed the defendant exactly

where his snapchat account said he would be–cooking out on a grill

with a large front ledge. This also gave officers probable cause to

believe that the defendant constructively possessed the handgun

they had seen on that grill ledge. “Constructive possession may be

established by demonstrating that the defendant knowingly had the

power and intention to exercise dominion and control over the object,

either directly or through others, thus establishing a nexus between

himself and the object.” United States v. Katz, 582 F.3d 749, 752

(7th Cir. 2009) The defendant had the power, ability, and intention

to exercise control over that firearm as evidenced by his public

Snapchat video displaying his gun possession.

3.    In the alternative, Officers had reasonable suspicion to conduct
a legal Terry stop of the defendant

     Even if the Court does not find that officers had probable

cause, they certainly had reasonable suspicion to stop the defendant

and talk to him to gain information. In United States v. Richmond,

the 7th Circuit affirmed the actions of two patrol officers in


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Milwaukee who also stopped a man on his porch to investigate their

suspicions that he possessed a weapon. United States v. Richmond,

924 F.3d 404 (7th Cir. 2019), cert. denied, 140 S. Ct. 1136 (2020).

Richmond was seen by Milwaukee police walking down the street

with a large bulge in his pocket. Id. at 408. As officers made eye

contact with Richmond he suddenly changes direction, started

moving faster and walked to the duplex where he lived. Id. at 409.

Officers exited their squad and approached Richmond on the porch.

Id. Richmond then set something inside his duplex. Id. One of the

officers then opened the door and peered inside the duplex and saw

a semi-automatic handgun. Id. The Seventh Circuit affirmed the

Terry stop on the curtilage of Richmond’s home. Id. at 413-415.

Further, the opening of the screen door to check for a weapon was

also permitted under Terry and Jardines. Id. at 415.

     Like the officers in Richmond, Sgt. Spaid and the other officers

certainly had reasonable suspicion that the defendant was engaged

in criminal activity which justified their entry to the porch. When

Sgt. Spaid approached the defendant and the defendant then

attempted to flee officers rather than stay at his grill, that flight adds

to the reasonable suspicion of officers. See Illinois v. Wardlow, 528

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U.S. 119, 124 (2000). By his flight, the defendant also created

exigent circumstances which allowed officers to follow the defendant

into his home.

4.   Officers were justified in their intrusion to the defendant’s
home by the exigent circumstances exception to the warrant
requirement

     The defendant has no one but himself to blame for the

intrusion into his home–it is he who chose to expose his illegal gun

possession to the public via Snapchat and it is he who also chose to

try to flee from law enforcement into the residence. There are three

long standing doctrines of exigent circumstances which apply in this

case to permit the entry of officers into the defendant’s home. First,

the doctrine of the “hot pursuit” of the defendant allowed Sgt. Spaid

and his colleagues to follow the defendant into his home as he moved

that way while resisting officers. This case is similar to United States

v. Santana which allows officers making a felony arrest to continue

into a defendant’s home to complete the arrest. 427 U.S. 38 (1976).

In Santana, police officers saw a woman they had probable cause to

believe had just participated in a felony drug trafficking offense. Id.

Santana was seen standing in the open doorway to her home. Id. at

40. Officers, without a warrant, walked up to her home, identified

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themselves and approached Santana to arrest her. Id. Santana fled

inside her home; officers followed and completed their arrest. Id. The

Supreme Court upheld that arrest. Id. The Supreme Court held that

Santana was in a public place and that exigent circumstances

allowed police to follow Santana inside her residence. Id. at 42.

Further they held that a suspect may not defeat an arrest which has

been set in motion in a public place. Id. at 43. The Supreme Court

also noted that a delay by police, would likely have given Santana

time to destroy evidence. Id. In our case, the defendant was on his

porch “exposed to public view, speech, hearing, and touch,” a place

where he had no expectation of privacy and officers were within the

bounds of the law when they approached to arrest the defendant. Id.

at 42.

     Second, Sgt. Spaid and his colleagues are likely also protected

by the doctrine that allows for warrantless entry to prevent

destruction of evidence. Kentucky v. King, 563 U.S. 452 (2011). The

officers did not create this exigency; thus officers were able to enter

the residence to prevent his tampering with evidence. When the

defendant took off and attempted to make it in the residence, it is

reasonable to assume he did so in an attempt to hide the semi-

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automatic firearm that officers knew he possessed outside on the

grill. Even if officers had randomly released their hold on the

defendant and allowed him to complete his escape, officers would

have been justified in following him inside because they were already

in pursuit and also, to ensure he did not destroy any evidence inside

the home.

     Third, officers are permitted to follow the defendant into the

home to protect themselves. See United States v. Kempf, 400 F.3d

501 (7th Cir. 2005). Should the defendant have been able to access

the firearm they saw on the Snapchat video, the defendant could

have potentially been a danger to officers thus resulting in a

reasonable belief that officers needed to secure the defendant and

his firearm to protect themselves and others.

     Once officers are inside the defendant’s residence, they are able

to conduct a protective sweep to determine there aren’t other persons

with additional weapons lying in wait. See Buie, supra; Richmond,

supra. The officers in this case did just that and in the process

located additional contraband in plain view. Officers were legally

permitted to collect the ammunition found in the open of the home.



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     Further, if the defendant had not been standing on his porch,

officers had sufficient probable cause to seek a search warrant for

the residence based on the defendant possessing a firearm as a

convicted felon. Officers later obtained consent from the defendant

and his roommate to search the home. Thus, the defendant, the

firearm, and the ammunition inside the home would have been

inevitably discovered by police subject to either that search warrant

or consent.

5.   The frisk of the defendant’s person for a weapon was proper

     Police officers are able to search the defendant incident to his

arrest. See United States v. Robinson, 414 U.S. 218, 236 (1973)

Alternatively, if officers did not have probable cause, but rather

reasonable suspicion to believe the defendant was armed, they also

had a basis to frisk the defendant to determine if the weapon was

still in his possession to ensure the safety of the officers at the scene.

Terry, supra at 27. The defendant’s spontaneous statement to

officers that he in fact had a gun was not in response to any

questioning by the officers but rather occurred when Sgt Spaid

neared the firearm the defendant had concealed on his person

during the protective frisk.

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                             Conclusion

     The defendant showed the world that he was in possession of a

firearm by sharing with the general public a video via Snapchat.

What he didn’t consider, is that videos which can be viewed by the

general public can also be viewed by law enforcement. In this case,

law enforcement was both familiar with the defendant, his status as

a felon, and with his Snapchat account. The Springfield Police

Department chose to act on that knowledge, and did so lawfully, by

collecting additional observations and then choosing to approach the

defendant’s residence to arrest or detain him. After Sgt Spaid

announced himself, the defendant chose to attempt to flee inside his

residence. Officers were able to follow the defendant into his

residence based on exigent circumstances. Once lawfully in the

home, officers properly frisked the defendant for a weapon and

performed a safety sweep of the residence. None of those actions ran

afoul of the Fourth Amendment.




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    Therefore, the government requests that defendant’s motion to

suppress be denied.

                         Respectfully Submitted,

                         DOUGLAS J. QUIVEY
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                       CERTIFICATE OF SERVICE

     I hereby certify that on August 9, 2021, I caused the foregoing to

be electronically filed with the Clerk of the Court using the CM/ECF

system, which will send notification of such filing to the following

counsel of record.

                                /s/ Sarah E. Seberger
                                Sarah E. Seberger
                                Assistant United States Attorney
                                United States Attorney’s Office




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